             Case 2:21-cr-00185-JCC Document 21 Filed 11/04/21 Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. CR21-185 JCC
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   JOSPIN K. MUJANGI,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
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     Offenses charged:
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        1. Conspiracy
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        2. Laundering of Monetary Instruments
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        3. Smuggling Goods into the United States
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        4. Lacey Act False Labeling
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     Date of Detention Hearing:    November 4, 2021.
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     DETENTION ORDER
     PAGE -1
             Case 2:21-cr-00185-JCC Document 21 Filed 11/04/21 Page 2 of 3




01 that no condition or combination of conditions which defendant can meet will reasonably assure

02 the appearance of defendant as required and the safety of other persons and the community.

03          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

04          2.      Defendant poses a risk of nonappearance based on the fact that he travelled

05 internationally to the United Stated in the course of the alleged conduct.            He was not

06 interviewed by pre-trial services so his ties to this District or his personal history are unknown.

07 He does not contest detention at this time.

08          3.      There does not appear to be any condition or combination of conditions that will

09 reasonably assure the defendant’s appearance at future Court hearings while addressing the

10 danger to other persons or the community.

11 It is therefore ORDERED:

12 1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

13      General for confinement in a correction facility, to the extent practicable, from persons

14      awaiting or serving sentences or being held in custody pending appeal;

15 2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

16 3. On order of the United States or on request of an attorney for the Government, the person

17      in charge of the corrections facility in which defendant is confined shall deliver the

18      defendant to a United States Marshal for the purpose of an appearance in connection with a

19      court proceeding; and

20 4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

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     DETENTION ORDER
     PAGE -2
             Case 2:21-cr-00185-JCC Document 21 Filed 11/04/21 Page 3 of 3




01 the defendant, to the United States Marshal, and to the United State Probation Services Officer.

02          DATED this 5th day of November 2021.

03

04                                               S KATE VAUGHAN
                                                 S.
                                                 United States Magistrate Judge
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     DETENTION ORDER
     PAGE -3
